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              10 Counsel for Defendants and Nominal Defendant Funko, Inc.
              11                      UNITED STATES DISTRICT COURT
              12                    CENTRAL DISTRICT OF CALIFORNIA
              13 IN RE FUNKO, INC.                        Lead Case No. 2:20−cv−03740−VAP−PJW
                 DERIVATIVE LITIGATION
              14                                          ORDER STAYING ACTION
              15
                      This Document Relates to:
              16
                              ALL ACTIONS
              17
              18
              19            Having reviewed the stipulation of Nominal Defendant Funko, Inc.;
              20 Defendants Brian Mariotti, Gino Dellomo, Michael Lunsford, Charles Denson,
              21 Adam Kriger, Ken Brotman, Diane Irvine, Jennifer Fall Jung, Russell Nickel, and
              22 Sarah Kirshbaum Levy; and Plaintiffs Franco Cassella, Dean Marconi, Jacoby
              23 Plummer, Amber Evans, and Michael Igelido, and good cause appearing therefor,
              24 the Court hereby ORDERS that:
              25       1.     The above-captioned action (the “Derivative Action”) shall be
              26 temporarily stayed until the entry of an order finally resolving the motion to dismiss
              27 the amended complaint in the related securities class action pending in this Court,
              28 captioned Gilberto Ferreira v. Funko, Inc., et al., Case No. 2:20-cv-02319-VAP-

                                                                          LEAD CASE NO. 2:20−cv−03740−VAP−PJW
ATTORNEYS AT LAW                                              1                                        ORDER
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                   1 PJW (C.D. Cal.) (the “Securities Litigation”), and the exhaustion of all appeals
                   2 thereto, as the stay will promote the efficient and orderly administration of justice
                   3 by coordinating the prosecution of the Derivative Action and the Securities
                   4 Litigation.
                   5         2.    Defendants shall promptly notify Plaintiffs of any related derivative
                   6 lawsuits of which they become aware.
                   7         3.    If the plaintiff in any related derivative lawsuit refuses to agree to a stay
                   8 under similar terms, Plaintiffs may lift the agreed stay upon ten (10) days’ notice in
                   9 writing.
              10             4.    During the pendency of the stay, Plaintiffs may file a consolidated
              11 complaint, though Defendants are not required to move against, answer or otherwise
              12 respond to such a consolidated complaint during the pendency of the stay.
              13             5.    Within fifteen (15) days following the lifting of the stay in accordance
              14 with the provisions of this order, the Parties will submit a proposed schedule to the
              15 Court regarding Defendants’ response to the complaint in the Derivative Action.
              16             6.    All deadlines, hearings, or conferences currently scheduled shall be
              17 postponed until the date and time that will be specified in the proposed scheduling
              18 order to be submitted by the Parties, or as otherwise set by the Court.
              19             IT IS SO ORDERED.
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              21
              22 DATED: 08/13/2020                             __________________________________
                                                               Hon. Virginia A. Phillips
              23                                               United States District Judge
              24
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                                                                                 LEAD CASE NO. 2:20−cv−03740−VAP−PJW
ATTORNEYS AT LAW                                                  2                                           ORDER
  LOS ANGELES
